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                                           6                               IN THE UNITED STATES DISTRICT COURT
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                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                          10   FINJAN, INC.,                                          No. C 17-05659 WHA
For the Northern District of California




                                          11                  Plaintiff,
    United States District Court




                                          12     v.                                                   ORDER RE MOTION TO STAY
                                                                                                      UNSEALING OF DAUBERT ORDER
                                          13   JUNIPER NETWORKS, INC.,
                                          14                  Defendant.
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                                          16          The Court has reviewed plaintiff Finjan, Inc.’s motion to stay of the Order Re Sealing
                                          17   of Order on Daubert Motions (Dkt. No. 284) pending a final resolution of its appeal (Dkt. No.
                                          18   331). The Daubert order will stay under seal until further order from the United States Court
                                          19   of Appeals for the Federal Circuit.
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                                          21          IT IS SO ORDERED.
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                                          23   Dated: December 17, 2018.
                                                                                                  WILLIAM ALSUP
                                          24                                                      UNITED STATES DISTRICT JUDGE
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